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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                  v.                           :
                                               :       Crim. No. 21-cr-78 (RCL)
JOHN SULLIVAN,                                 :
                                               :
                       Defendant.              :

                         JOINT PROPOSED STATEMENT OF CASE

        The parties, by and through their attorneys, respectfully submit the following statement of

the case for jury selection on October 25, 2023:

        This is a criminal case entitled United States v. John Sullivan. It arises out of the events at

the U.S. Capitol on January 6, 2021. The government has alleged that Mr. Sullivan committed

eight crimes relating to Congress’s meeting at the United States Capitol on January 6, 2021, to

certify the Electoral College vote for president, as well as relating to the FBI’s subsequent

investigation of Mr. Sullivan. First, he is charged with charged with obstructing an official

proceeding for allegedly interfering with Congress’s meeting.          Second, he is charged with

obstructing officers during a civil disorder. Third, he is charged with entering or remaining in a

restricted building or grounds with a dangerous weapon. Fourth, he is charged with disorderly or

disruptive conduct in a restricted building or grounds with a dangerous weapon. Fifth, he is

charged with unlawful possession of a dangerous weapon on Capitol grounds or buildings. Sixth,

he is charged with disorderly conduct in a Capitol Building. Seventh, he is charged with parading,

demonstrating, or picketing in a Capitol Building. And eighth, he is charged with making a false

statement or representation to an agency of the United States. Mr. Sullivan has pleaded not guilty

to all charges.




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